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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MICHAEL R. ATRAQCHI and
IRENE S. ATRAQCHI
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Florida 33634
Tampa, Florida Civ. No. 8: 2 \-0V-AS6 - M29-T55

Plaintiffs, |
V. Judge
UNITED STATES OF AMERICA
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Washington, D.C. 20008 FOR DECLARATORY RELIEF |
AND INJUNCTIVE RELIEF
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28083 Moulton Pkwy, Ste Cl
Laguna Niguel, CA 92677

FALAH ATRAKCHY
1 Chantilly Ct
Rockville, MD 20850

PATRICIA LAMB
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Rockville, MD 20850

ZINA ALYOUSSIF
1 Chantilly Ct
Rockville, MD 20850

SAMEERA ATRAKCHI
1 Chantilly Ct
Rockville, MD 20850

ZAID ALYOUSSIF
1 Chantilly Ct
Rockville, MD 20850

AHMED KANKA
Seattle, Washington

FAWZIA KANKA
Seattle, Washington

CHALAK ABDUL RAHMAN
Seattle, Washington

TAHA AL-SABA
Los Angeles, CA

YASIM AL-SABA
Los Angeles, CA

SAMIR SUMAIDAIE
Washington, DC

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GERALD GOODWIN
AME Church
Tampa, FL

WALLACE CHARLES SMITH
Shiloh Baptist Church
Washington, DC

ALI UZRI
230 Wuthering Hight Drive
Colorado Spring, CO 80921

MAX LENINGTON
1806 Rimrock Rd.
Billings, MT 59102

CAROL ALBAHRANI
Fort Wayne, IN 46835

ITEN ALBAHRANI
Fort Wayne, IN 46835

RESMIA KATTAN
Fort Wayne, IN 46835

BOSINA KATTAN
Fort Wayne, IN 46835

RAJHA KATTAN
Fort Wayne, IN 46835

KENNY CRAIG
1320 Main Street
Billings, Mt 59105-1742

GERALD PATTYN,
8050 Oakdell Way, Apt 1908
San Antonio, Tx 78240

ROSLIND PATTYN
8050 Oakdell Way, Apt 1908
San Antonio, Tx 78240

SUE PATTYN

8050 Oakdell Way, Apt 1908
San Antonio, Tx 78240

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KARL PATTYN
8050 Oakdell Way, Apt 1908
San Antonio, Tx 78240

KAREN PATTYN
8050 Oakdell Way, Apt 1908
San Antonio, Tx 78240

DANNY PATTYN
Hardin, MT

CAROL PATTYN
Hardin, Mt

NANCY PATTYN
Hardin, Mt

STEVE PATTYN
Hardin, Mt.

SAYED MOUSTAFA AL-QAZWINI
3194-B Airport Lp Drive
Costa Mesa, CA 92626

SUBHAN RAHIMI
WASHINGTON, DC

JANICE RAHIMI
WASHINGTON, DC

FATAMA RAHIMI
WASHINGTON, DC

DONNA SHALALA
MIAMI, FL

REX SMITH
BILLINGS, MT

MIKE SMITH
BILLINGS, MT

RICHARD CASTIELLO
Chevy Chase, MD

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FRANK BRAUN
Billings, Mt

MCDONALD’S CORPORATION
110 N Carpenter
Chicago, IL 60607

CASPER COMPANY
4908 W Nassau Street
Tampa, FL 33607

BLAKE CASPER
Tampa, FL

ALLISON CASPER ADAMS
Tampa, FL

ROBBY ADAMS
Tampa, FL

MIKE BOWEN
Tampa, FL

DANIEL B FITZPATRICK
Tampa, FL

QUALITY DINNING INC
3018 US Highway 301 N, Ste 100
Tampa, FL 33619

MARILYN HAGEMAN
Tampa, FL

STEVE NASH
Tampa, Fl

ANGEL
TACO BELL
Waters Avenue
Tampa, FL

ANA

BURGER KING
Kennedy Blvd.
Tampa, FL

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BRENDA GARCIA
Tampa, FL

ROCCO ZAPPONE
Capitol Hill
Washington, DC

ANDREA CLUNE
Wisconsin Avenue NW
Washington, DC

MOHAMMED AL-KARIA
Washington, DC

ALI JAWAD
Tampa, FL

CHAD CHRONISTER
Tampa, FL

BRIAN DUGAN
Tampa, FL

KATHIE LEE GIFFORD
Nashville, TN

KELLY RIPA
E 76" St
New York, NY

MARK CONSUELOS
E 76" St
New York, NY

JOHN I JENKINS
South Bend, Indiana

ANN FIRTH
South Bend, Indiana

LEN PLAZEWSKI
Tampa, FL

JACOB MONTELEONE
Tampa, FL

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DANIEL KAYAJAN
Tampa, FL

KYLE SMITH
Tampa, FL

THEODORE MCCARRICK
Jacksonville, FL

DONALD WUERL
Washington, DC

JOHN J DEGIOIA
37" & O St & NW
Washington, DC 20057

FRANCIS WINTERS
37° & OSt&NW
Washington, DC 20057

RONALD ANTON
37% & OSt &NW
Washington, DC 20057

WILFRIED BARABA
37" & OSt& NW
Washington, DC 20057

MARK BOSCO
37" & OSt&NW
Washington, DC 20057

DAVID R BROOKS
37" & OSt& NW
Washington, DC 20057

THOMAS BUCKLEY
37" & OSt& NW
Washington, DC 20057

PAUL BRIAN CAMPBELL

37" & OSt& NW
Washington, DC 20057

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MATTHEW CARNES
375 & OSt&NW
Washington, DC 20057

DREW J CHRISTIANSEN
37" & OSt& NW
Washington, DC 20057

DAVID COLLINS
37" & OSt& NW
Washington, DC 20057

CHRISTOPHER DUFFY
37" & OSt&NW
Washington, DC 20057

PATRICK F EARL
37" & OSt&NW
Washington, DC 20057

STEPHEN FIELDS
37" & OSt& NW
Washington, DC 20057

PETER FOLAN
37" & OSt& NW
Washington, DC 20057

GERALD P FOGARTY
37" & OSt&NW
Washington, DC 20057

THOMAS GAUNT
37" & OSt&NW
Washington, DC 20057

WILLIAM GEORGE
37" &OSt&NW
Washington, DC 20057

KEVIN GILLESPIE

37% & OSt& NW
Washington, DC 20057

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BENJAMIN HAWLEY
37" & OSt&NW
Washington, DC 20057

JERRY THOMAS HAYES
37" & OSt&NW
Washington, DC 20057

OTTO HENTZ
37" & OSt& NW
Washington, DC 20057

DAVID HOLLENBACK
37" & OSt& NW
Washington, DC 20057

S LEON HOOPER
37" & OSt&NW
Washington, DC 20057

AUGUSTO CESAR JO
37% & OSt&NW
Washington, DC 20057

WILLIAM J KELLY
37" & OSt& NW
Washington, DC 20057

DANIEL A MADIGAN
37" & OSt& NW
Washington, DC 20057

JAMES M MC CANN
37" & OSt& NW
Washington, DC 20057

BRIAN O MCDERMOTT
37% & OSt &NW
Washington, DC 20057

GERARD J MCCLONE

37" & OSt& NW
Washington, DC 20057

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DENNIS MCNAMARA
37" & OSt& NW
Washington, DC 20057

G RONALD MURPHY
37" & OSt&NW
Washington, DC 20057

ROCJARD NICHOLS
37" & OSt& NW
Washington, DC 20057

JOHN W O’MALLEY
375 & OSt&NW
Washington, DC 20057

LADISLAS ORSY
37" & OSt&NW
Washington, DC 20057

SUMETH PERERA
37" & O St &@NW
Washington, DC 20057

WILLIAM P RYAN
37" &OSt&NW
Washington, DC 20057

DAVID A SAUTER
37" & O St &NW
Washington, DC 20057

GREGORY A SCHENDEN
37" & OSt&NW
Washington, DC 20057

LAWRENCE C SMITH
37" & OSt& NW
Washington, DC 20057

CHRISTOPHER STECK

37" & OSt& NW
Washington, DC 20057

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JAMES R VAN DYKE
37" &OSt&NW
Washington, DC 20057

CHRISTIAN WAGNER
37" & OSt&NW
Washington, DC 20057

TIMOTHY DOLAN
New York, NY

AZIZ HANZAL
Tampa, Fl

SCOTT ROY
Homeless
Tampa, FL

STEVEN RAY
Homeless
Tampa, FL

QUEEN NOOR
Aman, Jordan

HAMZA AL-HUSSEIN
Aman, Jordan

KING ABDULLA
Aman, Jordan

QUEEN RANIA
Aman, Jordan

PHYLLIS WASHINGTON
Missoula, Mt

DENNIS WASHINGTON
Missoula, Mt

BECKY DUBOSE
Billings, Mt.

RIAD BAHIGE TABBARAH
Washington, DC

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BETTY O’TOOLE
Montana

MEYER WEEKS
Tampa, Fl]

OWEN SCHEXNAYDER
Tampa, FL

KRYSTAL ROMAGNOLO
Tampa, Fl

DONNE SERAVELLO
Tampa, Fl

ISRAEL PEREZ
Tampa, FL

MOHI JASMIN
Los Angeles, CA

CANDY JOHNSON
Missoula, Mt

DAVID ALBAHRANI
Ft. Wayne, Indiana

SATTAR BAHRANI
Cincinnati, Ohio

RICHARD GREGORCHEC JR
Tampa, FL

BERT THORNLEY
Tampa, FL

HERMAN SALAZAR
Tampa, FL

JOANIE SMITH
Burger King
Tampa, FL

KRISTIE SMITH
Tampa, FL

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SUSAN SMITH
Tampa, FL

MICHAEL SCARPLNITO
Tampa, FL

ZDENKO STANIC
St Pete, FL

JELA STANIC
St Pete, Fl

ANTON STANIC
St Pete, Fl

ANNA STANIC
St Pete, FL

ARI FLEISCHER
New York, NY

MIKE HUCKABEE
Arkansas

MARCO RUBIO
Washington, DC

SARAH HUCKABEE
Arkansas

LINDSEY GRAHAM
Washington, DC

RAND PAUL
Washington, DC

TED CRUZ
Washington, DC

STEVE DOOCY
New York, NY

PETER DOOCY
New York, NY

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BRIAN KILMEADE
New York, NY

WILL CAIN
New York, NY

GREG GUTFELD
New York, NY

JOHN ROBERTS
New York, NY

AINSLEY EARHARDT
New York, NY

SEAN HANNITY
New York, NY

BILL HEMMER
New York, NY

TUCKER CARLSON
New York, NY

LAURA INGRAHAM
New York, NY

PETE HEGSETH
New York, NY

JEDEDIAH BILA
New York, NY

KAYLEIGH MCENANY
New York, NY

HARRIS FAULKNER
New York, NY

MICHAEL PILLSBURY
New York, NY

BRET BAIER
New York, NY

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BRIT HUME
New York, NY

TRACE GALLAGHER
New York, NY

JANICE DEAN
New York, NY

SHANNON BREAM
New York, NY

MARTHA MACCALLUM
New York, NY

LEO TERRELL
New York, NY

JEANINE PIRRO
New York, NY

SANDRA SMITH
New York, NY

ANTHONY FAUCI
New York, NY

JASON CHAVETZ
New York, NY

JOHN KENNEDY
Washington, DC

NEIL CUVATO
New York, NY

MARC SIEGEL
New York, NY

JACK KEANE
New York, NY

MARIA BARTIROMO
New York, NY

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MIKE LINDELL
Fox TV Channel
New York, NY

RUPERT MURDOCH
New York, NY

LACHIAN MURDOCH
New York, NY

JAMES MURDOCH
New York, NY

JERRY HALL MURDOCH
New York, NY

TREY GOWDY
New York, NY

JOE CONCHA
New York, NY

TAMMY BRUCE
New York, NY

GERALDO RIVERA
New York, NY

DAN BONGINO
New York, NY

LAWRENCE JONES
New York, NY

CHER
Fox Channel
New York, NY

MADONA
Fox Channel
New York, NY

CANDACE OWENS
New York, NY

43

 
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JOEY JONES
New York, NY

SEAN DUFFY
New York, NY

RACHEL CAMPOS-DUFFY
Fox TV Channel
New York City, NY

WHOOPI GOLDBERG
New York City, NY

JOY BEHAR
ABC TV Channel
New York City, NY

OPRAH WINFREY
California

GAYLE KING
CBS TV Channel
New York City, NY

SAVANNAH GUTHRIE
NBC
New York, NY

HODA KOTB
NBC TV Channel
New York City, NY

ANDERSON COOPER
CNN TV Channel

CHRIS CUOMO
CNN TV Channel

DIANE SAWYER
ABC TV Channel

ROBIN ROBERTS
New York, NY

GEORGE STEPHANOPOUS
New York, NY

44

 
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JANE FONDA
California

TED TURNER
Montana

EVELYN ROMAN
Walmart
Tampa, FL

VICKEY VANDERVISS
Tampa, FL

SANDY SANDS
Tampa, Fl

BRIAN RICHEY
Texas

ANTHONY E PORCELLI
Tampa, FL

JAMES D WHITEMORE
Tampa, FL

RON DESANTIS
Florida

CASEY DESANTIS
Florida

GREG GIANFORTE
Montana

GREG ABBOTT
Texas

MOHI JASIM
Los Angeles, CA

ANDY GRANTHAM
6902 West Hillsborough Ave.
Tampa, FL 33634

ZALONDA EARP
6902 West Hillsborough Ave.

45

 
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Tampa, FL 33634

RON HOLMES
6902 West Hillsborough Ave.
Tampa, FL 33634

LUZ FLORES
6902 West Hillsborough Ave.
Tampa, FL 33634

SUBURBAN EXTENED STAY HOTEL
6902 West Hillsborough Ave.
Tampa, FL 33634

MARK MEADOWS
Washington, DC

CHAD WOLF
Washington, DC

JESSIE DAHL
U.S. DISTRICT COURT
Tampa, FL

ALEJANDRO CASTILLO

US. District Court
Tampa, FL

JOHN DOE AND JANE DOE = 1-350,000,000

Defendants.

 

FEDERAL QUESTION COMPLAINT
Plaintiffs, Michael R Atraqchi and Irene S Atraqchi, husband and wife, U.S citizens, pro
se, in forma pauperis, and for their complaint, allege the following upon information and belief:
The Plaintiffs bring this action under 18 USCA 2520 of Chapter 119 (18 USCA 2510-

2521), to obtain preliminary and permanent injunctive relief against the Defendants for illegally

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wiretapping their telephone and electronical surveillances of their Hotels room in the State of
Florida, Tampa area, on the train, buses, restaurants, stores, on the streets, hospitals and doctors’
offices, and elsewhere and even from the White House, for the purpose of isolating and
criminating the Plaintiffs and impose religious inquisition upon them, homosexualize, rape,
blackmail, and procure them into a field of interception of illegal wire communications where
they will be forced to commit crimes against humanity, homosexualizing, prostituting innocent
children. and stealing the property of innocent individuals, citizens of the United States of
America, and convert them to Baptist and/or Methodist sect of Christianity from being Muslims,
other religions and Christian denominations in violation of the law and the U.S. Constitution.

The above stated field of interception of illegal wire communications imposed upon the
Atraqchis and others is encompassing the entire United States of America whereby any person
could spy on any person in violation of the law and the U.S. Constitution.

The above stated sects of Christianity are using the law and psychology to procure their
victims into this Cult using illegal wiretapping and electronical surveillances in violation of the
law and the U.S. Constitution.

The above stated religious sects are using homosexuality and prostitution as methods
of recruitment to this “death cult.”

The above stated religious sects are using the medical field to discipline and/or kill their
victims should they divert and/or refuse to join the cult and to commit crimes against innocent
American citizens in violation of the law and the U.S. Constitution.

The above stated religious sects are using the resources of the Federal Government to
impose religious inquisition upon the public to make them one race and one religion.

The Plaintiffs are suing all the Defendants listed above individually for money and in

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their official capacity for injunctive relief, except the United States of America’s Government is

for injunctive relief only since it is sovereign.

JURISDICTION AND VENUE

This Court has subject matter jurisdiction pursuant 28 USC 1331, 28 USC 1343 (3), 28
USC 1343 (4), 18 USCA 2520, and under the U.S. Constitution, Amendments 1, 4, and 14, to
enjoin the Defendants and their co-conspirators, from wiretapping and electronic monitoring the
Plaintiffs and deprive them from all economic opportunities and living in this area and elsewhere
in the USA, and deny them of all medical care available to them to cause their demise should they
refuse to join the cult, through the field of interception of illegal wire communications and that all
acts stated below happened in the State of Florida and more specifically in the Tampa area.

COMPLAINT

1. The Plaintiffs, Michael Atraqchi and Irene Atraqchi, husband and wife, senior
citizens, of good repute, minding their own business, and attempting to live in peace in the
twilight years of their life, have been separated from their children and families for the last
forty-one years by the acts of these Baptist and Methodist sects of Christianity when they
illegally wiretapped them, and bugged their home, apartments, and hotel rooms, businesses, cars,
in restaurants, and anywhere they go even overseas since 1958, and more specifically in the
Tampa, Florida using their children and families, blackmailing them, and make them file false
affidavits with the Court to obtain the order to illegally wiretap their parents in violation of the
law and the U.S. Constitution.

2. Defendants Brenda Case, Jackie Lemke, and Michele George are dyslexic, and have
never seen the Plaintiffs for over thirty-two years.

3. The Plaintiffs litigated the matter of illegal wiretapping in four federal jurisdictional

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courts in the States of Montana, Minnesota, Washington, DC, and now in Florida. All their
cases, a total of fifty-four were dismissed sua sponte, failure to state a claim, in violation of the
law and the U.S. Constitution.

4. As aresult of the illegal wiretapping of the Plaintiffs’ telephone and bugging their
home and cars, the Plaintiffs left their home, property, and businesses in the State of Montana in
1990, and moved to the State of Minnesota to escape the harassment, intimidation, isolation and
settled in Minnesota, only to discover a new field of interception of illegal wire communications
has been instituted against them by the same sects to rape them and convert them into this Cult.

5. Asaresult of the illegal wiretapping in Minnesota and Washington, DC, the
Atraqchis moved to the State of Florida in 2012 and discovered that they were illegally
wiretapped and is continuous until the present.

6. Asaresult of the illegal wiretapping, the Atraqchis lost their children, home and
properties, and business and livelihood, became destitute, homeless living on the streets of
Tampa, Florida for the last eight years.

7. Asaresult of this illegal wiretapping, the Atraqchis were denied all the medical care
available to them in the Tampa, Florida and elsewhere to force them into this conspiracy and into
this “Death Cult,” and to kill them.

8. As aresult of the illegal wiretapping, the Plaintiff Michael Atraqchi was denied the
surgical removal of his lipoma by all surgeons contacted and now has become large and visible
to the naked eye and has metastasized blocking his urinary tract and caused constipation, which
will result in his death, if it is left unchecked and not removed surgically.

9. Asaresult of this illegal wiretapping, all the medical providers contacted refused to
operate on Mike Atraqchi to remove his lipoma which has caused him great harm, pain, and will
result in death of the Plaintiff.

10. Asa result of the illegal wiretap, the Atraqchis were denied the services of all

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medical providers contacted as well as the services of the Hospitals in Tampa, Florida.

11. As a result of the illegal wiretap, the Plaintiff will suffer and will continue to suffer
from misdiagnosing and treatment of his diabetes condition, which both Plaintiffs are suffering
from and were self-diagnosed and confirmed by the nurse practitioner at the Tampa Family
Health Clinic (not party to the suit) and are unable to have a Doctor to treat them.

12. As a result of the illegal wiretap, the Defendant, the United States of America has so
far delayed and/ or refused to reissue Michael Atraqchi’s naturalization paper and his passport to
keep him in this Country and prevent him from travelling abroad to remove his lipoma surgically
and to save his life. This despite the fact that the Atraqchis paid the required fee for the
reissuance of the passport and money paid for the research to produce the documents required to
issue the passport. EXHIBIT A

13. Asa result of the illegal wiretapping and the electronical surveillances, Defendants
Leonard Dahl, Margarete Dahl, Robert Williams, Shirley Svenson, Tim Stevens, Joanne
Humphrey Haverland, Ted Haverland, ex-Sheriff Richard Schaefer, Thomas J Vierling, Mumtaz
Fargo, Fargo (First Name Unknown); Marilyn Fargo, Awatif Bahrani Dorsey, Richard Dorsey,
Hussam Bahrani, Satar Bahrani, Adiba Atraqchi Otto, Asier Atrakchi, Falah Atrakchi, Faisal Al-
Dujaili, Mohammed Mehdi, Mehdi Hussein, Mayada Yousif, Maha Yousif, Ahmed Yousif,
Moustafa Al-Qazwini, Joseph Mansour, Ahmed Jabur, Mohamed Helal, Patricia Lamb, Zina Al
Youssif, Taha Al-Saba, Yasim Al-Saba, Mohammed D Mohammed, Mehdi Hussein, Mohi
Jasim, Candy Johnson, Fawzia Wakil, Kadum Abood, Aida Wakil, Sonya Wakil, Ida Rasheed,
Adil Wakil, Joseph Wakil, Ramez Andrawis, Ed Nave, Richard Cox, Ali Jawad, Ali Uzri,
Ghazi Rubeii, Nick Kottab, Tasneem Khaleel, Shafiq Khaleel, First United Methodist Church,
the First Baptist Church of Billings, Montana and others monitored Deborah Atraqchi Coffin,
Brenda Atraqchi Case, and Jackie Lemke, as well Michele George, Ron George, Virginia
George, Genevieve Dilley, and raped, beat, and prostituted them for money at Brothels in
Montana and South Dakota, and elsewhere, across the State lines since 1977 and are continuous

until the present.

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14. The Defendants, the Baptist and Methodist. Churches of Billings, Montana, are using
the family members to file false affidavits with the Court to obtain the wiretap order while
bribing them with money, degrees, and spouses, to convert others to this Cult, in violation of the
law and the U.S. Constitution.

15. As a result of the illegal wiretapping and the electronical surveillances, Mumtaz
Fargo forced the above stated individuals to disseminate into the field of interception of illegal
wire communications falsely that the Plaintiffs Michael Atraqchi and Irene Atraqchi have raped
and incested them and blamed it on them falsely which caused great harassment, intimidation,
isolation, and ridicule

16. The above stated individuals were forced to lie to the Court to obtain the warrant
order to illegally wiretap and electronical surveillance the Atraqchis including but not limited to
Robert A Williams.

17. The above stated slander caused the Atraqchis great harassment, intimidation,
isolation and ridicule and continues to do so in the future.

18. The above slander forced the Atraqchis out of their home and properties and sought
refuge elsewhere even abroad and more specially in Tampa, Florida to force them into this Cult
whereby they will be homosexualized, prostituted and made to commit crimes against humanity
and against innocent America citizens in violation of the law and the U.S. Constitution.

19. As a result of the above illegal wiretapping, the Atraqchis’ home and properties were
stolen and divided between ex-Sheriff Richard Schaefer and Robert Williams with the help of
the Baptist Church and Methodist Church of Billings, Montana, Joanne Humphrey Haverland,
Ted Haverland and were deeded to them free of charge after the State of Montana acquired the
properties for tax delinquency.

20. As a result of the illegal wiretap, the Plaintiffs could not identify all the individuals
involved in this conspiracy against them, but they will substitute John Doe and Jane Doe when

the true identity of the individuals is revealed in the wiretap applications and orders, other

documents and papers on record and charge them accordingly.

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21. The Plaintiffs charge all Defendants listed herein with illegal wiretapping and
electronical surveillances and the dissemination of the said material gained falsely into the field
of interception of illegal wire communications imposed upon the Atraqchis whereby heard by the
public.

22. The dissemination of the material gained falsely into the field of interception of
illegal wire communications has caused the Plaintiffs great harassment, intimidation, isolation,
shock to the nervous system, stress and duress, and denied them all the medical care available to
them in this area and will continue to do so in the future.

23. If the field of interception of illegal wire communications is not pre-empted the

Atraqchis will suffer irreparable harm and death.

24. WHEREFORE, the Plaintiffs demand:

a. A declaratory judgment that the Atraqchis have illegally been wiretapped in
violation of their First, Fourth, Fifth and Fourteenth Amendments to the U.S.
Constitution.

b. A declaratory judgment that Ch 119 pre-empts the field of interception of
illegal wire communications imposed upon the Plaintiffs in the State of
Florida and elsewhere.

c. A declaratory judgment that all activities of the defendants, including all taps
authorized violated the same federal statutes and constitutional provisions.

d. An injunction against any criminal prosecution of the Plaintiffs based on taps.

e. Restraining order and Preliminary injunction enjoining all Defendants from ever
harassing and interfering with all medical providers, and the diagnosis and

treatment of the Plaintiffs in the Tampa, Florida and elsewhere.

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f. An order sealing the results of the taps.

g. Compensatory damages of $50,000,000 and punitive damages of $100,000,000 to |

redress violations of Plaintiffs’ First, Fourth, and Fourteenth Amendment rights, |

plus attorney’s fees and costs. |

h. Compensatory liquidated damages of $100 per day and punitive damages of |

$500,000,000 for violation of Plaintiffs rights under 18 USCA 2520, plus |

attorney’s fees and costs;

i. Permanent injunction against the Defendants from performing all criminal acts |

in the future, including wiretapping and dissemination of all material gain falsely, |

and all harassment thereof. |

j. A Restraining Order and Preliminary Injunction allowing Michael R |

Atraqchi to operate on his lipoma without any interference with his medical
providers and to treat his diabetes by a Doctor of his own choice.

k. Include all previous suits in this forum.

1. Any further relief which the Court may deem appropriate. :

Michael R R SS

Suse, GDesgily

Irene S Atraqchi |

 
 

6902 West Hillsborough Avenue-103 |
Tampa, Florida 33634

Dated: April 2 Q021

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